       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 1 of 41   1077
     CCEJSOUF

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    In the Matter of one infant child
     ABDOLLAH NAGHASH SOURATGAR,
4
                      Petitioner,
5
                 v.                                12 Civ. 7797 PKC
6
     LEE JEN FAIR,
7
                      Respondent.
8
     ------------------------------x
9
                                                   December 14, 2012
10                                                 10:30 a.m.

11

12   Before:

13                           HON. P. KEVIN CASTEL,

14                                                 District Judge

15

16                                 APPEARANCES

17   ROBERT D. ARENSTEIN,
     SANDRA NUNEZ,
18        Attorneys for plaintiff

19   PATTON BOGGS LLP
          Attorneys for defendant
20   BY: ANDREW J. McNALLY, Esq.
          DORCHEN A. LEIDHOLDT, Esq.
21                    Of counsel

22   Also Present:
          JENNIFER BAUM,
23        JENNA DiCOSTANZO,
          Gardians ad Litem
24         - and -
          JANE KIM, Esq.
25


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 2 of 41       1078
     CCEJSOUF

1               (Trial resumes)

2               (In open court)

3               THE COURT:   Please be seated.     Good morning.

4               Respondent may call her next witness.

5               MS. LEIDHOLDT:    Your Honor, we have no more witnesses

6    to call.    Our understanding is that Mr. Arenstein will

7    stipulate to the qualifications of the -- he has waived his

8    objection, pardon me -- to the qualifications of the translator

9    of the documents that were submitted by Mr. Souratgar's

10   attorney in the Malaysia Shairiah court, so we have finished

11   our case.

12              THE COURT:   Let me get this straight now.       I didn't

13   understand that the objection was to the qualifications.           I

14   thought it was an objection to the absence of a translation

15   coming in in any way permitted by the rules.

16              Now, if there is a stipulation between the parties

17   that the translation which has been previously submitted as

18   R-37-1 and R-38-1 is a fair and accurate translation, then that

19   disposes of the issue.      Is the respondent prepared to stipulate

20   to that?

21              MR. McNALLY:   Yes, your Honor.

22              THE COURT:   Is the petitioner prepared to stipulate?

23              MR. ARENSTEIN:    Yes, your Honor.

24              THE COURT:   So R-37 and R-38 may come in without

25   objection.    Is that correct?


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 3 of 41     1079
     CCEJSOUF

1              MR. ARENSTEIN:    Yes, your Honor.

2              THE COURT:    They are received as a translation.

3              (Respondent's Exhibits R-37 and R-38 received in

4    evidence)

5              THE COURT:    All right.    Is there anything further in

6    the respondent's case?

7              MR. McNALLY:    Yes, your Honor, two minor items.

8              Yesterday we were working with a document that I asked

9    your Honor take judicial notice of.       You suggested that I mark

10   it appropriately.    I have marked it as R-39.       I can submit

11   another copy to the court that has said marking on it.

12             THE COURT:    That is fine.    Why don't you do that.

13   That is just for identification?

14             MR. McNALLY:    Correct.

15             THE COURT:    Thank you.

16             MR. McNALLY:    Finally, your Honor, yesterday you had

17   received a parcel from Singapore with the mediation notes.          You

18   entrusted it to me and asked I circulate copies of the same to

19   Ms. Baum and Mr. Arenstein.

20             THE COURT:    Yes.

21             MR. McNALLY:    I am happy to report I did that last

22   night, and I have the originals for your Honor.

23             MR. ARENSTEIN:    I would like to thank Mr. McNally for

24   his fast and speedy copying it and getting it to us last night.

25             THE COURT:    Thank you very much.


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 4 of 41   1080
     CCEJSOUF

1              MS. LEIDHOLDT:    Yesterday, your Honor, you directed us

2    to obtain Dr. Cling's notes --

3              THE COURT:    Yes.

4              MS. LEIDHOLDT:    -- and make copy copies of them.

5              Ms. Kim was able to pick them up early this morning

6    and Ms. Kim is currently making copies of them, and we will

7    shortly have them to Mr. Arenstein.

8              THE COURT:    Do you have any idea on the timing of

9    that?

10             MS. LEIDHOLDT:    There is a terribly long line outside

11   and she is probably in that line, but I believe she has

12   completed the task and is on her way back up.

13             THE COURT:    That is wonderful.

14             Is there anything further, Mr. McNally?

15             MR. McNALLY:    We rest, your Honor.

16             THE COURT:    Okay.   Any rebuttal case?

17             MR. ARENSTEIN:    Your Honor, I have submitted to the

18   court Petitioner's Exhibit GG, which is a case in Singapore

19   talking about the civil contempt and contempt of court

20   regarding the penal code that was submitted by Mr. McNally, and

21   I ask the court to take judicial notice of Petitioner's Exhibit

22   GG which I have handed to both parties and handed to the court.

23             THE COURT:    All right.    I will take that under

24   advisement.    Throughout the course of this proceeding there

25   have been various materials referenced by the parties or by the


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 5 of 41    1081
     CCEJSOUF

1    court as to which the parties have been placed on notice, and

2    the court will take under advisement whether to take judicial

3    notice of those materials, noting that there has not been

4    objection to the taking of judicial notice.

5               MR. ARENSTEIN:     This is a case in Singapore, an actual

6    judicial case that was decided by the court.

7               Anyway, your Honor, the other thing is I would like to

8    move at this point to strike the testimony, the irrelevant

9    testimony of both Ms. Lee Jen Fair and of the psychologist Dr.

10   Cling, pursuant to your Honor's direction to make the motion at

11   this time.

12              THE COURT:   All right.    I will take that under

13   advisement.    Is there a rebuttal case by petitioner?

14              MR. ARENSTEIN:     We ask that the court take the

15   Judicial Harmony report that was submitted, and based on that

16   report, if the court takes judicial notice of it, since it was

17   submitted to the court and requested by the court, we will

18   dispense with any rebuttal witness.

19              THE COURT:   Well, do you want to have the materials

20   marked as an exhibit in this case?

21              MR. ARENSTEIN:     I would.   I would like to make it

22   Court's Exhibit 1 or 2, whatever number.

23              THE COURT:   No.    You can make it a petitioner's

24   exhibit.

25              MR. ARENSTEIN:     Then I make it Petitioner's Exhibit


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 6 of 41        1082
     CCEJSOUF

1    HH.

2               THE COURT:   All right.    You are offering it?

3               MR. ARENSTEIN:    Yes, I am, your Honor.

4               THE COURT:   Any objection?

5               You're offering it into evidence.      Is that correct?

6               MR. ARENSTEIN:    Yes, that is correct.

7               THE COURT:   Any objection?

8               MR. McNALLY:    No, your Honor, except I do have a

9    photocopy here if that would be easier.

10              THE COURT:   I will take the photocopy, that will be

11   great.    I am marking the original as Petitioner's HH, but the

12   court would appreciate a photocopy if you have an extra.           That

13   is received in evidence.

14              (Petitioner's Exhibit HH received in evidence)

15              MR. ARENSTEIN:    I think he will put a sticker on it.

16              THE COURT:   Okay.   So perhaps I misunderstood you, Mr.

17   Arenstein.    You're resting and you are not putting in the

18   undertaking, nor are you offering any evidence with regard to

19   the Turkish Airline circumstance.       Is that correct?

20              MR. ARENSTEIN:    I believe the undertaking was already

21   submitted, your Honor.

22              THE COURT:   I believe you're mistaken.      I don't ask

23   for the undertaking.      I don't want the undertaking.      I am not

24   an inquiring magistrate here.      I am a judge in an adversary

25   system.    You are free to offer what you wish to offer or not


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 7 of 41      1083
     CCEJSOUF

1    offer evidence.     That is your prerogative, not mine.

2              You referred to some sort of a ruling from the court.

3    You're not offering that, either?

4              MR. ARENSTEIN:    That was GG, your Honor.      I handed it

5    to you.

6              THE COURT:    GG is the ruling of the Singapore court in

7    this case with regard to the undertaking?

8              MR. ARENSTEIN:    No, no, no.    I have that here.

9              THE COURT:    I am not asking for this, Mr. Arenstein,

10   but you've referred to it many times, and I gather your

11   intention was to rest this case without putting it in?

12             MR. ARENSTEIN:    No.   I intend to put it in right now

13   as Petitioner's Exhibit HH.

14             THE CLERK:    You have HH already.

15             MR. ARENSTEIN:    Then II.

16             THE COURT:    I have HH, yes, right.

17             MR. ARENSTEIN:    Petitioner's Exhibit II.      Everybody

18   has a copy.

19             (Pause)

20             THE COURT:    I am returning some phones that have been

21   given to my Deputy that have not been received into evidence.

22   I don't know what they are doing here on my Deputy's desk, but

23   I ask that they be taken away.

24             (Pause)

25             THE COURT:    Again I think at one point I recall in the


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 8 of 41       1084
     CCEJSOUF

1    course of this hearing I was offered an opportunity to inspect

2    the phones.    That is not what I do for a living.       I am not an

3    inquiring magistrate here.

4              If somebody wants to offer evidence to me, they can

5    offer evidence.    If somebody wants a physical object received

6    in evidence, we consider the physical object, but I don't just

7    inspect things that are not in evidence.

8              THE CLERK:    Is that offered and received?

9              MS. NUNEZ:    II.

10             THE COURT:    Are you offering now --

11             MR. ARENSTEIN:      That was not accepted into evidence.

12             THE COURT:    What have you offered now?      I don't

13   understand.    Something marked as II, and what is it, sir?

14             MR. ARENSTEIN:      II is the undertaking and filing and

15   acceptance of the court of the undertaking, your Honor, in

16   Singapore.

17             THE COURT:    You're offering it into evidence?

18             MR. ARENSTEIN:      Yes, I am.

19             THE COURT:    Any objection?

20             MR. McNALLY:    No objection to it coming in, your Honor

21   only insofar as it being characterization of being.

22             Accepted.    It appears to have been filed, according to

23   my reading of the first two pages of the document.          I don't

24   know if that constitutes an acceptance or endorsement of the

25   same.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 9 of 41       1085
     CCEJSOUF

1              THE COURT:    Mr. Arenstein has repeatedly represented

2    to me that this has been accepted, that he has received

3    information that this has been accepted by the court in

4    Singapore, the undertaking has been accepted.

5              Surely this document will reflect judicial approval of

6    the undertaking and not merely a filing.        I have heard Mr.

7    Arenstein make this representation to me on a number of

8    occasions.   Mr. Arenstein, this is a judicial approval.           I

9    haven't read the exhibit.      You are giving me a judicial

10   approval of the undertaking?

11             MR. ARENSTEIN:    I don't know that a judge has signed

12   it, but it says, "Filed and accepted by the Court."

13             THE COURT:    As you can apply for $20 million in

14   attorney's fees in this case, I don't think there is any

15   restriction and the Clerk of Court will accept that for filing,

16   too, correct, in this Court?

17             MR. ARENSTEIN:    I assume so, yes.

18             THE COURT:    But you didn't make that representation

19   that it has been filed with the court in Singapore.          You've

20   made the representation to this Court repeatedly in the course

21   of this proceeding that the undertaking was filed and accepted

22   by the court in Singapore.

23             Did the court in Singapore take any action with regard

24   to your client's undertaking?

25             MR. ARENSTEIN:    My client's counsel informed me that


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 10 of 41     1086
     CCEJSOUF

1    this document was filed and accepted by the court and is now

2    part of the court's case, and his undertaking is something,

3    from what my counsel tells me in Singapore, which can be

4    enforced by the court.

5              THE COURT:    You made a representation to this Court

6    repeatedly that your client -- in fact, you told me your client

7    had filed it.    I think you told me your client had filed it,

8    and then you came back into court and you said, "Your Honor, I

9    have news," in words or substance, thank Goodness we have a

10   record here, but my recollection of it is that, "I wanted to

11   bring you up to date, the court in Singapore has accepted my

12   client's undertaking."

13             Are you now telling me that the court, the judge in

14   Singapore has taken no action with regard to your client's

15   undertaking?

16             MR. ARENSTEIN:     I was informed by Ms. Gomez, who is

17   counsel for Mr. Souratgar, because I am not a lawyer in

18   Singapore, this is accepted and filed with the court and now

19   can be enforced by the judge.

20             I don't know whether the judge put a judicial

21   signature on it, but it is part of the court file and it is

22   part of a document which is enforceable, and Mr. Souratgar is

23   responsible to take action pursuant to that order.

24             THE COURT:    Mr. Arenstein, this is a question that

25   goes to candor, your candor with the court.         Do you have any


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 11 of 41       1087
     CCEJSOUF

1    indication that any judge of any court in Singapore has acted

2    upon your client's undertaking --

3               MR. ARENSTEIN:    The only indication --

4               THE COURT:   -- in the record in this proceeding?

5               MR. ARENSTEIN:    In this proceeding, the only

6    indication I got was from Ms. Gomez, your Honor.

7               THE COURT:   That is not part of the record in this

8    proceeding, is it?

9               MR. ARENSTEIN:    No.

10              THE COURT:   In the evidence in this proceeding?

11              MR. ARENSTEIN:    No, other than the document I have and

12   the document that is on top of it because the first document

13   was the document that was taken to the consulate in Singapore

14   here.

15              THE COURT:   And this reflects simply that there was a

16   filing.    That's all it reflects?

17              MR. ARENSTEIN:    I was told by Ms. Gomez that it was

18   accepted by the court as an enforceable document.          Whether or

19   not the judge signed it or not, I don't see a signature.

20              THE COURT:   There is no evidence before me of that,

21   correct?

22              MR. ARENSTEIN:    That's correct.

23              THE COURT:   I should go on the evidence before me,

24   correct?

25              MR. ARENSTEIN:    That's correct, your Honor.      That is


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 12 of 41      1088
     CCEJSOUF

1    all I have to give you.      I have nothing more.

2              THE COURT:    But I get back to what you have

3    represented to this Court, and you have waffled even now and

4    vacillated between the court accepted it for filing, meaning

5    that it is now part of the record in Singapore, and a

6    representation that there has been some form of judicial action

7    taken.   You don't disclaim a representation that there's been

8    judicial action on it, right?

9              You still adhere to that?

10             MR. ARENSTEIN:     I can get a clarification from

11   Ms. Gomez, but what I was told by Ms. Gomez and I mentioned to

12   this Court is that the court has filed and accepted this

13   document as a document which they can enforce.         I don't know

14   whether a judge has put his signature on it or not.

15             THE COURT:    We are not talking about signature.

16             Is it fair to say you have represented to me in this

17   courtroom that a judge in Singapore has acted on your client's

18   undertaking?    Is that a Fair characterization of what you told

19   me?

20             MR. ARENSTEIN:     I don't -- if I said that, then I

21   misspoke -- I don't know whether a judge, I don't know whether

22   a judge has acted on it because I'm not in Singapore.          All I

23   know is that this is a document that is part of the court

24   record which I assumed the judge is aware of in Singapore.

25             THE COURT:    What is the basis for your assumption?


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 13 of 41       1089
     CCEJSOUF

1              MR. ARENSTEIN:     There is a filing and acceptance by

2    the court of this undertaking.

3              THE COURT:    So you would assume I am aware of anything

4    that is docketed on ECF in this Court, is that a fair

5    equivalent?

6              MR. ARENSTEIN:     It is not the same as ECF in

7    Singapore.    I can't tell you how Singapore works, but I believe

8    what is filed in the Singapore court becomes part of the record

9    in Singapore and is acted on.       If Mr. Souratgar were to not

10   follow that undertaking, I believe that a judge could find him

11   in contempt of that undertaking.

12             THE COURT:    You don't understand.      I am still back on

13   the candor issue.     I am back on your candor with me.       That is

14   what I am back on, Mr. Arenstein.

15             What I am trying to find out is could the court have

16   acted on it before it was filed?

17             MR. ARENSTEIN:     The court act?

18             THE COURT:    Could the court do anything or see it

19   before it was filed?

20             MR. ARENSTEIN:     I don't see how a court can act until

21   it is filed, but she said the court accepted.

22             THE COURT:    Now, do you have any evidence of anything

23   happening other than it being filed?

24             MR. ARENSTEIN:     I have evidence that it was accepted

25   by the court.    They can reject it.     Clerks have rejected --


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 14 of 41      1090
     CCEJSOUF

1              THE COURT:    Where?

2              MR. ARENSTEIN:      I have had things filed on ECF that

3    have been rejected by ECF.

4              THE COURT:    No.    Mr. Arenstein, think with me for a

5    minute.   I think what you're accepting is a judge can't

6    function on something until it is filed, right?

7              MR. ARENSTEIN:      That's correct.

8              THE COURT:    So if we were talking about this system,

9    the judge couldn't know about your motion until you filed it on

10   the ECF, correct?

11             MR. ARENSTEIN:      That's correct.

12             THE COURT:    We start from the assumption the judge in

13   Singapore could not act on this until it was filed, right?

14             MR. ARENSTEIN:      I agree.

15             THE COURT:    You agree with it.      You have evidence it

16   was filed?

17             MR. ARENSTEIN:      I have evidence it was filed and

18   accepted by the clerk.

19             THE COURT:    That is the starting point where a judge

20   could either do something with it or not do something with it

21   the moment it is filed.       You have evidence it is filed, right?

22             MR. ARENSTEIN:      That is correct.

23             THE COURT:    Now, where is your evidence that upon

24   filing, the first moment that the court could act on it, that

25   the court has acted on it, because that is what I understand


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 15 of 41       1091
     CCEJSOUF

1    you told me in the course of this hearing.

2              MR. ARENSTEIN:     I can get you a clarification on the

3    word of "acceptance" in Singapore from Ms. Gomez because

4    Ms. Gomez is the one who represented to me it is accepted by

5    that court is the court acting upon it.        I don't know how the

6    Singapore court works because I don't practice in that court.

7              THE COURT:    You adhere to the representation that the

8    Singapore court, upon the filing, then acted upon it?          Is that

9    what you continue to represent to this Court?

10             MR. ARENSTEIN:     I am not representing that.      I don't

11   know exactly.    I am not a Singapore lawyer.       I only can take

12   what I am told by a Singapore lawyer, who tells me that the

13   court accepted it and it is part of the court record now and is

14   enforceable by the court.      I can get a clarification from a

15   Singapore lawyer, but I don't practice in the Singapore court.

16             THE COURT:    This is the hearing.      You're welcome to

17   offer into evidence whatever you want to offer into evidence.

18             MR. ARENSTEIN:     Then I offer into evidence the

19   document marked GG which has -- II, I believe, which is the

20   acceptance and filing by the court and the actual undertaking.

21             THE COURT:    Mr. Arenstein, it is already in evidence.

22             MR. ARENSTEIN:     Then I have nothing further, your

23   Honor.

24             THE COURT:    So I take it then you are not offering --

25   are you offering any rebuttal witnesses?


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 16 of 41   1092
     CCEJSOUF

1               MR. ARENSTEIN:    No, your Honor.

2               THE COURT:   So you are not offering any evidence to

3    rebut the testimony of the mother with regard to the Turkish

4    Airlines incident, correct?

5               MR. ARENSTEIN:    We haven't received the letter from

6    the Turkish Airlines.

7               THE COURT:   I didn't ask you whether you received the

8    letter.

9               MR. ARENSTEIN:    I can put my client on the stand.

10              THE COURT:   I don't care what you do.      I am trying to

11   have a clarification.

12              MR. ARENSTEIN:    Then I will put my client on the

13   stand.

14              THE COURT:   I don't know what you mean by "but then I

15   will."    I am asking you a question.      I am not telling you what

16   to do, Mr. Arenstein.     I want a clear record here.

17              MR. ARENSTEIN:    Your Honor, I am going to put the

18   petitioner on the stand in rebuttal of the mother's testimony

19   on the Turkish Airlines, the limited purpose.

20              THE COURT:   All right.    You may take the stand.

21              Please be seated, sir.     Mr. Souratgar, the court

22   reminds you you're still under oath.

23              THE WITNESS:   Yes.

24              THE COURT:   Please be seated.

25    ABDOLLAH NAGHASH SOURATGAR,


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 17 of 41   1093
     CCEJSOUF

1          recalled as a witness by the Petitioner,

2          having been previously duly sworn, testified as follows:

3    DIRECT EXAMINATION

4    DIRECT EXAMINATION

5    BY MR. ARENSTEIN:

6    Q.   Mr. Souratgar, would you tell the court where you were on

7    November 12th, 2012.

8    A.   In the United States, in Kingston.

9    Q.   Who were you with?

10   A.   With my son.

11   Q.   Where were you the entire day?

12   A.   If I can recall, we went for shopping to buy some

13   groceries, something like that, and then we went to the

14   supermarket, and then if I remember, it was a hangover for the

15   mother to visit the son on the 12th, if I am not mistaken, and

16   we stay, we stay together because as far as I remember, I was

17   here.   I can't recall exactly what we did on the 12th of

18   November, but I was in the United States, in Kingston.

19   Q.   Did you go to sleep with your son?

20   A.   Yes, of course.

21   Q.   Where were you at 11:00 o'clock on November 12th, 2012,

22   11:00 pm at night?

23   A.   At home.

24   Q.   What did you do the next morning?

25   A.   Again I remember, as far as I remember, I think I have


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 18 of 41   1094
     CCEJSOU1                    Souratgar - direct

1    to -- at 9:00 o'clock again, if I am not mistaken, is bring my

2    son for 14 Sharon Drive, the place, as far as I remember, that

3    was supposed to be in this way, I can't remember.

4    Q.   You were in Kingston for the entire day and night and

5    morning.     Is that correct?

6    A.   Yes.    I am living in Kingston.    They call it North Front

7    Street.

8    Q.   Were you ever at Kennedy Airport at 11:00 pm on November

9    12th, 2012?

10   A.   No, no, I never been on that day in the airport.

11   Q.   Did you have any boarding pass or anything to go on a

12   plane?    Did you board a plane on that day?

13   A.   No, I never have -- I have my ticket from the Emirates

14   Airlines, which is in my bag right now.        I came from the

15   Emirate Airlines.     I never have any flight booking more than 23

16   hours.

17               MR. ARENSTEIN:   No further questions.

18               THE COURT:   Mr. Souratgar, you testified in this

19   courtroom on November 1st.      Do you recall it was during the

20   electrical power outage?      Do you remember that?

21               THE WITNESS:   Sorry?

22               THE COURT:   Do you remember appearing in a courtroom

23   in this courthouse?      Now that I think about it, it was not this

24   courtroom, but there was a courtroom in this courthouse on

25   November the 1st, 2012.      Do you recall appearing and testifying


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                                 (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 19 of 41     1095
     CCEJSOU1                    Souratgar - direct

1    before me in this courthouse during the blackout resulting from

2    the hurricane?

3              THE WITNESS:    Yes, sir.

4              THE COURT:    That was November 1st.      Do you remember

5    that date?

6              THE WITNESS:    I think it should be November -- I can't

7    really remember.

8              THE COURT:    From the time of that appearance to today,

9    have you at any time been to Kennedy Airport?

10             THE WITNESS:    One time.

11             THE COURT:    When was that?

12             THE WITNESS:    When Ms. Gomez come, I go and pick them

13   up.

14             THE COURT:    What date was that, approximately?

15             THE WITNESS:    Ms. Gomez came on --

16             THE COURT:    I can offer you a calendar of the month of

17   November.

18             THE WITNESS:    Thank you very much.

19             I believe it was the 31st November or the 1st of

20   December -- sorry, sorry -- 29 November.        I have a booking

21   hotel when they book in the hotel on 39th Street, No. 149,

22   which I went to the airport with Ms. Tammy, picked them up,

23   send them to a hotel.

24             THE COURT:    Do you recall what airlines they came in

25   on?


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 20 of 41    1096
     CCEJSOU1                    Souratgar - direct

1              THE WITNESS:    Emirate Airlines.

2              THE COURT:    At any time have you been to Kennedy

3    Airport since that time?

4              THE WITNESS:    No.

5              THE COURT:    Have you traveled, since your first

6    arrival in the United States which was shortly before the

7    hearing that I referenced on November 1, have you at any time

8    traveled outside the United States?

9              THE WITNESS:    No, sir; no, sir.

10             THE COURT:    Have you at any time traveled out of the

11   State of New York?

12             THE WITNESS:    Only to go Kingston and here.       There is

13   no other places.

14             THE COURT:    Thank you.    You may inquire.

15             MR. McNALLY:    My counsel asked me if we can have a

16   brief recess.    We have a calendar that suggests --

17             THE COURT:    You can have a brief recess.       We'll take a

18   five-minute recess.

19             MR. McNALLY:    I think we might need a little bit

20   longer than that because she has to retrieve the calendar from

21   her office downtown that reflects when visitation occurred.         We

22   don't believe there was a visitation session on November 12th.

23             THE COURT:    If somebody wants to have something faxed

24   to my Chambers, they're welcome to have it faxed to my Chambers

25   and I'll have it brought down here.


                      SOUTHERN DISTRICT REPORTERS, P.C.
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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 21 of 41   1097
     CCEJSOU1                    Souratgar - direct

1              MR. McNALLY:    We'll make that arrangement, your Honor.

2              THE COURT:    We're in recess.

3              (Recess)

4              THE COURT:    Please be seated.

5              THE WITNESS:    Thank you.

6              THE COURT:    Any cross-examination?

7              MR. McNALLY:    No, your Honor.

8              THE COURT:    You may step down.

9              (Witness excused)

10             THE COURT:    Anything further in the rebuttal case of

11   petitioner?

12             MR. ARENSTEIN:     No, your Honor.

13             THE COURT:    Petitioner rests?

14             MR. ARENSTEIN:     Yes, we do.

15             THE COURT:    That concludes the evidentiary phase of

16   this case.    I will permit but not require anybody who wishes to

17   say anything further in this case may do so at this time.

18             What I will require is that counsel remain in the

19   courtroom, and I'm having my Deputy hand to you the Deputy's

20   notes of the exhibits that have been received into evidence.

21   What I am going to direct you to do is to meet and confer and

22   go through the exhibits and have a pile that begins with the

23   exhibits in exhibit order, whether it is 1 through 36 or A

24   through Z that you agree have been received into evidence, and

25   a separate pile of anything that has been marked for


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 22 of 41   1098
     CCEJSOU1

1    identification or otherwise marked in this case but not

2    received into evidence.

3               I will require you to meet and confer on that, and I

4    will take the Bench if there is any dispute, we will get the

5    transcript if need be and resolve it.        I want to have the

6    exhibits that have been received in evidence assembled by the

7    parties.

8               Let me ask a question of the guardian ad litem, is

9    there any evidence that the guardian ad litem wishes to offer

10   of any sort?

11              MS. BAUM:    No, your Honor.    I've submitted a number of

12   reports and letters, and I would just ask that the court take

13   those into consideration.

14              THE COURT:   Okay.   Any objection to my taking the

15   submissions of the guardian ad litem into consideration, Mr.

16   Arenstein?

17              MR. ARENSTEIN:    The only objection I would have is I

18   don't think she can determine whether there is a grave risk of

19   danger.    In one of her letters she made a statement that if the

20   evidence shows, she might make a recommendation as to grave

21   risk.   I think that is in your Honor's purview to determine

22   grave risk.

23              The only other thing that I would address the court on

24   is if your Honor is going --

25              THE COURT:   Do you understand what I am asking?


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 23 of 41       1099
     CCEJSOU1

1              I am asking whether I can take her positions into

2    account, not whether I should agree with her positions.             Do you

3    understand the difference?      I am asking you, can I take account

4    of the positions of the guardian ad litem, not am I bound by

5    anything the guardian ad litem has said?

6              Do you understand?

7              MR. ARENSTEIN:     I understand that.     The only problem I

8    have with that, this is not a custody case, and usually a

9    guardian ad litem is used in a custody case to advocate a

10   position.

11             THE COURT:    They are usually are.      This is not a

12   custody case.

13             MR. ARENSTEIN:     Right.   I understand that.

14             I have a little trouble understanding, your Honor, why

15   the guardian ad litem would take a position in this case on the

16   legal evidence that has been permitted to your Honor.

17             THE COURT:    We are only talking about that which has

18   already been submitted by the guardian ad litem.          Do you have

19   an objection to the court considering the submissions that the

20   guardian ad litem has made to this Court?

21             (Off-the-record discussion)

22             MR. ARENSTEIN:     We have no objection to the report

23   except if it is contained in the report that there could be a

24   XIII (b) or some sort of a violation, that the guardian's

25   opinion would not necessarily be correct in this case because


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 24 of 41   1100
     CCEJSOU1

1    you are the arbitrator, you are the decider of the fact.

2              THE COURT:    In other words, if I understand you

3    correctly, you have no objection to the court considering what

4    the guardian ad litem has said, but you don't agree with

5    everything the guardian ad litem has said, correct?

6              MR. ARENSTEIN:     That's correct.

7              THE COURT:    All right.

8              MR. ARENSTEIN:     If she takes a conclusion, if she

9    comes to a legal conclusion there is a grave risk of danger, I

10   don't think that that would be proper.

11             THE COURT:    Okay.   Thank you.

12             Does the respondent have any objection to my taking

13   into account the views of the guardian ad litem?

14             MS. LEIDHOLDT:     No, your Honor.

15             THE COURT:    All right.    Is there anything the

16   petitioner wishes to say by way of a closing statement or do

17   you want to rely on what you've said and submitted heretofore?

18             MR. ARENSTEIN:     I just say two things.

19             On the Article XX, I think the evidence -- Article

20   XIII and XIII (b), as your Honor is aware, it has to be under

21   clear and convincing evidence and it has to, on XX, shock the

22   conscience of the court.      I don't believe the testimony here

23   has shocked the conscience of the court on Singapore, and on

24   XIII (b) I don't think the grave risk of danger met the

25   standard of clear and convincing evidence.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 25 of 41    1101
     CCEJSOU1

1              I think we have made our prima facie case under all 3,

2    5, 11 and 12 of the Hague Convention where we have shown the

3    habitual residence of the child was Singapore, there was

4    wrongful retention and wrongful removal of the child pursuant

5    to the court orders of Singapore which did not allow Ms. Lee to

6    take the child out of Singapore, and under Abbott and Kroll,

7    the two cases that are seminal in the Supreme Court on the

8    nescient orders, they were violated.

9              Mr. Souratgar has a right of custody under the Hague

10   Convention, and the fact is that I think we have met our prima

11   facie burden by the preponderance of the evidence on the

12   petition for the return.       So I believe we have made our prima

13   facie case and I believe Article XIII (b) and Article XX have

14   not been proven on the standards of this Court, and I ask your

15   Honor to grant our petition to return the child back to

16   Singapore.

17             THE COURT:    All right.    Anything the respondents wish

18   to say?

19             MS. LEIDHOLDT:      Your Honor, so I understand, your

20   Honor will not be setting a schedule for a post-trial brief,

21   which we would welcome the opportunity to submit to this Court.

22             THE COURT:    No.    I understand that the parties

23   legitimately desire expedition in this case, and the treaty so

24   requires, and you've all been gracious enough to provide me

25   with trial memoranda, so I am giving you the opportunity now if


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 26 of 41   1102
     CCEJSOU1

1    there is anything you wish to say by way of closing argument or

2    post evidentiary submission, this is your time to do it.

3               MS. LEIDHOLDT:    Your Honor has been very generous in

4    giving us the opportunity to elaborate on our theory of the

5    case throughout the pendency of this case.         So I would

6    respectfully submit that respondent has met the burden of

7    proving by clear and convincing evidence that the subject child

8    faces a grave risk of harm should he repatriated to Singapore.

9               Your Honor, that grave risk is that the petitioner

10   really from the registration of the parties' marriage in

11   January of 2008 until the time that the petitioner fled

12   Singapore, had exerted a pattern of increasing coercive

13   control, domination and abuse that included repeated acts of

14   physical abuse against the respondent, some of which are

15   documented through police reports and medical reports, others

16   are not.

17              During these incidents of physical abuse, the subject

18   child was exposed to his father's violence against the mother,

19   physical violence against the mother, that the petitioner

20   subjected our client to repeated acts of sexual abuse, that

21   some of which rose to the level of rape, that were degrading

22   and humiliating and extraordinarily debilitating to the

23   respondent, and many of these acts took place in front of the

24   subject child who shared a bedroom with the parties and slept

25   next, immediately next to his mother.


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 27 of 41     1103
     CCEJSOU1

1              The petitioner subjected our client to psychological

2    battery and directed vial and humiliating epithets to her on a

3    regular basis, to her on a regular basis, frequently shouting

4    at her and constantly criticizing her, criticizing her as a

5    wife and criticizing her parenting of the subject child, and

6    that this psychological battering took place in the presence of

7    the subject child.

8              I would also submit, your Honor, that the petitioner

9    exerted a scheme, carried out a scheme where he reduced the

10   respondent mother to a condition of dependence on him

11   economically, that this was deliberate and that he carried out

12   his scheme by securing the immigration documentation of the

13   mother and the subject child, keeping this documentation,

14   identity cards, birth certificates, passports in his office

15   safe, which was a powerful tool of control and domination over

16   the petitioner and the subject child.

17             Your Honor, part of petitioner's scheme was to

18   surreptitiously render our client a citizen of Iran by

19   obtaining without her knowledge a passport in her name and

20   obtaining a passport for the subject child which she did not

21   approve of.

22             Respondent observed the passport petitioner had

23   secured for the subject child.       She knows that it exists.      She

24   never saw the passport, the Iranian passport that the

25   petitioner obtained for her until the pendency of this case.


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 28 of 41        1104
     CCEJSOU1

1    She knows this passport exists now.        It has her photograph on

2    it.   Never did she consent to this passport being made, never

3    has she consented to being a citizen of Iran, never has she

4    subjected the subject child in this case to being a citizen of

5    Iran.

6              Your Honor, we respectfully submit as part of

7    petitioner's course of conduct, his scheme, he exerted control

8    over the respondent using the legal system, a legal system that

9    sadly in Singapore failed to protect her from the petitioner's

10   violence, that our client went to the police precinct in

11   Singapore reporting violence on six separate occasions.             On

12   three of those occasions there were medical reports.          At no

13   time did the police in Singapore take any action to protect the

14   respondent mother from petitioner's violence.

15             Your Honor, I respectfully submit that respondent is

16   remarkable in that she took diligently and took so many steps

17   to protect herself and the child from petitioner's violence

18   once she was able to leave petitioner's residence and actually

19   even before then she initiated a custody case prior to leaving,

20   shortly before leaving.

21             After she initiated that case, petitioner cross-filed

22   for custody, and when it appears that petitioner was not happy

23   with what was going on at that point in time in the Singapore

24   courts, he initiated his own separate custody case in the

25   courts of Malaysia, in the Shairiah court of Malaysia.


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 29 of 41   1105
     CCEJSOU1

1               Your Honor, we have, we have submitted documentation

2    that shows in the Shairiah court of Malaysia petitioner

3    submitted documentation in which he stated that our client is a

4    practicing Christian and was taking the subject child to

5    church.

6               Our expert witness, Ms. Hassan, has testified for a

7    Muslim to practice Christianity in Malaysia is a very severe

8    crime.    It is the crime of apostasy.      In this respect, your

9    Honor, Mr. Souratgar placed Ms. Lee in grave danger in Malaysia

10   in his effort to secure custody of the child.

11              All of this, your Honor, places the subject child at

12   grave risk of harm.     There is evidence before this Court that

13   Mr. Souratgar told, informed two individuals of his scheme to

14   take the respondent to Iran with the subject child where he

15   would have control over her and he would continue his punishing

16   behavior of her.

17              He informed Ms. Lee of this scheme, and most

18   importantly, he informed her sister, Jen Pink Lee, of this

19   scheme.    When he first informed Ms. Jen Pink Lee of his scheme

20   to take the child to Iran, telling her that Ms. Lee, the

21   respondent, is a bad mother and the child should not have a

22   mother like her and she was going to take the child to Iran,

23   Ms. Pink Lee immediately informed her sister, and that's when

24   our client left the petitioner.

25              Subsequently, the petitioner went to Ms. Pink Lee's


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 30 of 41    1106
     CCEJSOU1

1    office, I believe the day after the respondent left him and

2    detailed his scheme, that he was going to, that he had reported

3    it to the authorities of Malaysia, which prohibits their

4    citizens from holding dual citizenship, that our client had

5    Iranian citizenship, that this would result in her citizenship

6    being rescinded, that she would then no longer be a Malaysian

7    citizen, that it would put her permanent residence status in

8    Singapore into jeopardy, and she would have no other

9    opportunity to go to any other country other than Iran, they

10   would take the child to Iran, and once she was in Iran, he

11   would have her put in jail in Iran.        He detailed this to Jen

12   Pink Lee, your Honor.     Just one second, please.

13             (Pause)

14             Your Honor, we would submit that our witnesses, our

15   fact witnesses, Jen Fair Lee and Jen Pink Lee and Ms. Chew were

16   credible.   Our client Ms. Lee's testimony I think you see was

17   detailed and responsive and factually specific and entirely

18   credible, and the testimony of her sister was similarly

19   credible.

20             In striking contrast, your Honor, we would

21   respectfully submit that Mr. Souratgar's testimony lacked any

22   measure of credibility.      It was contradictory, internally

23   contradictory.    While he claimed that our client has chased him

24   around with knives and choppers and repeatedly attempted

25   suicide and described her as a histrionic, crazed, homicidal


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 31 of 41        1107
     CCEJSOU1

1    lunatic, that that evidence is contradicted internally in his

2    testimony and it is contradicted by our client's testimony on

3    the stand.    It is contradicted by Dr. Cling's psychological

4    evaluation of our client which is uncontroverted, your Honor.

5               Your Honor, our expert witness, Dr. Cling, provides

6    the framework for understanding Mr. Souratgar's course of

7    conduct.    She has characterized him as someone who was

8    hell-bent on the domination and control and ultimately when she

9    left him, the destruction of our client.

10              Your Honor, it is very clear in this case that the

11   interests of the mother and the subject child cannot be

12   separated, that our client was the primary caretaker of the

13   subject child, she was an excellent and responsive mother under

14   conditions that would make it very difficult to be a good

15   mother.

16              Part of Mr. Souratgar's scheme is to deprive Shayan of

17   his mother, to remove her from his life, from the child's life.

18   That would be extraordinarily injurious to this child.              Should

19   Shayan be repatriated to Singapore in the custody, care and

20   control of his father, he will be in the custody, care and

21   control of someone who attempted to destroy the child's mother.

22   That is a grave risk of harm.

23              The idea the Singapore courts are going to protect our

24   client, it is very clear that that is not the case.          Ms. Hassan

25   testified that the Shairiah court is not bound by any rulings


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 32 of 41    1108
     CCEJSOU1

1    of the Family Court in Singapore, so assuming the Family Court

2    takes protective steps, the Shairiah court will not be bound by

3    that, and that the Shairiah court will have jurisdiction over

4    the custody case any time either party initiates a divorce.         It

5    can be Mr. Souratgar or it can be Ms. Lee.

6              Obviously, it would be appropriate for there to be a

7    divorce in this particular case.       If your Honor reads the

8    supervised visitation report, your Honor will note that

9    Mr. Souratgar represents he is living in Malaysia, that he is

10   becoming a citizen of Malaysia, he is residing in Malaysia.

11             At any time Mr. Souratgar can bring a custody action

12   in Malaysia, and that custody action will be in the Shairiah

13   court in Malaysia, and Mr. Souratgar has already told the court

14   in Malaysia our client is a practicing Christian who is taking

15   the child to church.     Ms. Hassan made it clear what the

16   consequences of that will be of a Shairiah court in Malaysia

17   and that it is very clear that Mr. Souratgar has secured an

18   Iranian passport for our client and for the subject child.          We

19   have seen a copy of that passport.

20             How easy would it be to take the child to Iran where

21   he runs a business?     How easy it would be to let his brother in

22   Singapore run the Singapore end of the business?          He made

23   representations repeatedly to both Ms. Lee and her sister that

24   he wants to take the child to Iran, the child will have a

25   better life in Iran, he is intent on taking the child to Iran.


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                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 33 of 41   1109
     CCEJSOU1

1    Your Honor, if the child goes to Iran, the child no longer has

2    a mother.   What a grave risk of harm to that child!

3              Your Honor, we submit that Article XX also applies in

4    this particular case, that Singapore has grievously failed to

5    protect the human rights of this mother and child whose

6    interests are interconnected and inseparable.         She sought

7    police action and police protection and protection from the

8    criminal justice system over and over again in Singapore but

9    was denied it.

10             She went to Family Court to get an order of protection

11   and did not succeed in doing that not because there wasn't a

12   very well documented history of domestic violence, and

13   ultimately in Singapore she finds herself in the Shairiah

14   court, the only place that she could obtain a divorce because

15   she is Muslim.

16             As Ms. Hassan made very clear, that court where the

17   substantive law comes from the Koran fails to protect the due

18   process rights, the rights to equal protection and the human

19   rights of women in that court system.

20             So, your Honor, we would submit that we have met our

21   burden of establishing by clear and convincing evidence that if

22   the subject child is repatriated to Singapore, there is a grave

23   risk of harm to that child and that Singapore has failed to

24   provide protection, fundamental fairness and protection of the

25   human rights of both the mother and the child.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 34 of 41       1110
     CCEJSOU1

1              Thank you.

2              THE COURT:    Thank you, Ms. Leidholdt.

3              Anything further from anyone?       I will take up the

4    visitation issue in a moment.       Anything further on the merits

5    of the hearing?

6              MS. BAUM:    May I be heard?

7              I do urge the court to deny the petition.         No matter

8    what position the court takes ultimately, the child is going to

9    be deprived of one of his parents.

10             I think the evidence showed that the petitioner

11   engaged in a remarkably sophisticated plan to defraud the

12   governments of Singapore, Malaysia and Iran into coercing a

13   change of citizenship for the child and his mother, and I think

14   that if the child is returned, the evidence shows that the

15   child will be separated from his mother.

16             For the reasons already stated by the respondent, that

17   would definitely present a grave risk to the child, and I think

18   the party responsible for the separation of the child from

19   either parent is the petitioner, by engaging in a scheme to

20   defraud the child of his citizenship.        For that reason, I urge

21   the court to deny the petition.

22             THE COURT:    Thank you.    Anything further from the

23   petitioner?

24             MR. ARENSTEIN:     One second.

25             (Off-the-record discussion)


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 35 of 41       1111
     CCEJSOU1

1              MR. ARENSTEIN:     Your Honor, first of all, I would

2    object to the guardian making a conclusion of grave risk of

3    danger, which I did earlier.

4              Secondly, if all the things were true, even if they

5    were true, I don't think that this has gone to the level of

6    clear and convincing evidence.

7              In addition, Mr. Souratgar, who has been through this

8    whole trial here, he has not gone to Iran, not done anything to

9    violate a court order.     We have had a violation of court orders

10   by Ms. Lee Jen Fair, who apparently decides she can take the

11   law into her own hands, the laws of Singapore which is a

12   signatory to this.     I assume, I haven't seen, but I did see a

13   letter the U.S. Attorney or the State Department was going to

14   weigh in on that on this date, December the 14th at least.

15   That was the letter or copy I got.

16             This is not a custody case.       What I just heard from

17   the guardian is custody.      Under the Hague Convention, under

18   Article XVI, there isn't supposed to be any custody.          Article

19   XIX, you are not supposed to rule on the merits of custody.

20   What the guardian has done has basically ruled on custody, and

21   the fact is I think that is not proper under the Hague

22   Convention.

23             This is not a custody case.       This is where the child

24   lived all his life in Singapore.       He has never lived in the

25   United States until Ms. Lee Jen Fair, against the law, against


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 36 of 41      1112
     CCEJSOU1

1    an order of the court, took the child to different places,

2    violated four different orders, four times she has violated the

3    orders, and now we come here and the guardian says very grave

4    risk of danger.

5              Well, I am concerned about Mrs. Lee Jen Fair's taking

6    of the child and what she has done with this child, four times

7    abducting the child from one place to another where my client

8    has to expend resources to be able to find that child and hide

9    the child out.

10             I don't believe there is any grave risk of danger.        I

11   think the Article XIII (b) and Article XX should be denied.         By

12   that expedition, you will be rewarding the respondent for her

13   blatant conduct in disregard of the law your Honor.

14             Thank you.

15             THE COURT:    Thank you all very much.      The hearing is

16   concluded.   I'll get an order up on the visitation issue on ECF

17   momentarily.

18             MR. ARENSTEIN:     May I address the visitation issue.

19             We have had four abductions that were testified to in

20   this Court, even admitted to by Ms. Lee Jen Fair.          We have had

21   to have security to watch the respondent so that she doesn't

22   remove the child.     The grandmother who is the person who

23   basically engineered the removal of the child from one place to

24   another is still here with the mother.

25             We have no objection to the mother visiting with the


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 37 of 41        1113
     CCEJSOU1

1    child, but I had asked the guardian to take some responsibility

2    when the mother was seeing the child.        The guardian refused to

3    take any responsibility whatsoever to safeguard that the child

4    would not be abducted.

5              My client has gone nowhere with the child but here and

6    he has had the child here pursuant to your Honor's order.           We

7    have had four abductions by Mrs. Lee Jen Fair.         We have had no

8    guarantee, no way to prevent her from re-abducting the child to

9    someplace else.

10             If she is able to re-abduct this child outside of the

11   jurisdiction of this Court, under the case of Chavin v. Chavin

12   just argued in the U.S. Supreme Court, we might have a moot

13   case here before your Honor.      So I would suggest or

14   respectfully ask the court that if you are going to have

15   visitation, that there be somebody responsible that that child

16   not be re-abducted to someplace else or not be removed in some

17   way so that we at least know.       We have spent a fortune, my

18   client has no more money now to spend for security to make sure

19   that Mrs. Lee Jen Fair doesn't further abduct this child.

20             The guardian has not cooperated with me.         I asked her

21   to help us devise a way so that it would be secure.          She says

22   your client can pay for it, your client can take care of this,

23   your client can take care of that.

24             Well, my client doesn't have all the money to do that.

25   I think if there is going to be something with security, maybe


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 38 of 41     1114
     CCEJSOU1

1    Mrs. Lee Jen Fair should chip in or should be paying some of

2    the costs.   We're in this Court to date because Mrs. Lee Jen

3    Fair abducted the child to the United States.         It is uncanny

4    that the abductor should have unrestricted powers to take the

5    child anywhere she wants or not be restricted to have the child

6    here without any safeguards at all.

7              So I ask your Honor if you issue or create an order of

8    visitation, there be some safeguards that the child is not

9    taken out of the jurisdiction of the court.

10             Thank you, your Honor.

11             THE COURT:    All right.    Anyone else wish to be heard?

12             MR. McNALLY:    Yes, your Honor, very briefly.

13             Obviously, I think that with regards to the temporary

14   arrangement that has been set in place for the care of the

15   child, it is not something that is ideal for our client.

16             That being said, the threat of flight I think exists.

17   Mr. Arenstein points to our client as bringing up is also very

18   apparent on the other side.      We have heard a lot of testimony

19   in this case about the potential for Mr. Souratgar to take the

20   child to Iran.    That was his intention, and that still exists.

21             We have not attempted to impose by circumstance any

22   sort of restrictions on your Honor's order, and we respectfully

23   request that the visitation rights that are set forth in your

24   order are adhered to or if not expanded upon so that our client

25   can enjoy time with her child.


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 39 of 41   1115
     CCEJSOU1

1              THE COURT:    All right.    Thank you very much.

2              We are adjourned, and let me just say in conclusion,

3    it is apparent to me there are a lot of areas where the parties

4    are in sharp disagreement, but the court will observe that it

5    is my belief that both parents, separately and individually,

6    love Shayan.    I take that from the evidence and I take that

7    from their actions.     It is, indeed, sad that the adults have

8    created a situation where this winds up in the hands of a judge

9    adjudicating a petition under a treaty between the United

10   States and Singapore.

11             I also wish to express my gratitude to all, including

12   court staff, court reporters, guardian ad litem, counsel team

13   for petitioner and counsel team for the respondent, including

14   associate counsel, legal assistants, attorneys not yet admitted

15   to the Bar, and others who have helped in proceeding with this

16   case and proceeding, as it needs to be, on an expedited basis.

17             I cannot help that from time to time I express a view

18   on what I see, and I have done so, but that doesn't take away

19   from the fact that I realize that behind the presentations has

20   been a lot of hard work by a lot of people, in some instances

21   by attorneys who are not being compensated for their work, as

22   is the case with Professor Baum and Mr. McNally and perhaps

23   with others, and I thank all of you for your attention to this

24   matter.

25             I wish you the best for the holidays and I hope for


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       Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 40 of 41   1116
     CCEJSOU1

1    the wisdom to decide this case correctly, and it will be my

2    endeavor to try and decide this case with the utmost dispatch.

3              Thank you.

4              MR. ARENSTEIN:     Thank you.

5              MR. McNALLY:    Thank your Honor.

6              (Court adjourned)

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                                (212) 805-0300
      Case 1:12-cv-07797-PKC Document 54 Filed 01/28/13 Page 41 of 41   1117



1                           INDEX OF EXAMINATION

2    Examination of:                                     Page

3    ABDOLLAH NAGHASH SOURATGAR

4    Direct     . . . . . . . . . . . . . . . . . . . .17

5                             PLAINTIFF EXHIBITS

6    Exhibit No.                                           Received

7     HH      . . . . . . . . . . . . . . . . . . . . . 6

8                             DEFENDANT EXHIBITS

9    Exhibit No.                                          Received

10   R-37 and R-38     . . . . . . . . . . . . . . . . 3

11

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